This is an action for partition of land and an accounting. The case was referred by this court to a state referee who has heard the parties and has filed his report in court.
The state referee finds in part that a sale of the property would not better promote the interests of the parties and that an actual division of the property between the parties would be consistent with their best interests and recommends that the partition be by such division.
To this report of the state referee the defendant remonstrates, because the property is subject to a mortgage.
The remonstrant submits no facts and no law justifying the court in not following the recommendation of the state referee. Kelley vs. Madden, 40 Conn. 274; Ford vs. Kirk,
41 id. 9.
The remonstrance is overruled.
   Judgment is rendered that: (1) the property be partitioned in accordance with the recommendation of the state referee; (2) the plaintiffs shall recover from the defendant damages of $15.